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                       IN THE UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE

 CIRBA INC. (d/b/a DENSIFY)                          C.A. No.19-742-LPS
 and CIRBA IP, INC.,

                         Plaintiffs,
                                                     JURY TRIAL DEMANDED
        v.

 VMWARE, INC.,

                         Defendant.


                       [VMWARE’S PROPOSED] VERDICT FORM

INFRINGEMENT

Infringement of U.S. Patent No. 8,209,687

Question No. 1:
      Have Plaintiffs proven by a preponderance of the evidence that VMware has literally

infringed the following claims of the ’687 patent?

   “Yes” is a finding for Plaintiffs. “No” is a finding for VMware.

     Claim 3       Yes _______         No ________

     Claim 7       Yes _______         No ________




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Question No. 2:
      Have Plaintiffs proven by a preponderance of the evidence that VMware has actively

induced third parties to literally infringe the following claims of the ’687 patent?

   “Yes” is a finding for Plaintiffs. “No” is a finding for VMware.

      Claim 3       Yes _______       No ________

      Claim 7       Yes _______       No ________




If you answered “NO” to the preceding Question, skip to Question No. 4.


Question No. 3:

Answer this question only if you answered “YES” to the preceding Question.

       If you answered “Yes” to Question No. 2, what is the date on which VMware first

induced third parties to literally infringe the ’687 patent?



       Answer: _____________________________




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Infringement of U.S. Patent No. 9,654,367

Question No. 4:
      Do you find that the Plaintiffs have proven by a preponderance of the evidence that

VMware has literally infringed the following claims of the ’367 patent?

        “Yes” is a finding for Plaintiffs. “No” is a finding for VMware.

 Claim 1       Yes _______ No ________              Claim 13      Yes _______ No ________

 Claim 2       Yes _______ No ________              Claim 15      Yes _______ No ________

 Claim 4       Yes _______ No ________              Claim 16      Yes _______ No ________

 Claim 5       Yes _______ No ________              Claim 17      Yes _______ No ________

 Claim 9       Yes _______ No ________              Claim 19      Yes _______ No ________

 Claim 11      Yes _______ No ________




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Question No. 5:
      Do you find that the Plaintiffs have proven by a preponderance of the evidence that

VMware has actively induced third parties to literally infringe the following claims of the ’367

patent?

          “Yes” is a finding for Plaintiffs. “No” is a finding for VMware.

 Claim 1         Yes _______ No ________               Claim 13     Yes _______ No ________

 Claim 2         Yes _______ No ________               Claim 15     Yes _______ No ________

 Claim 4         Yes _______ No ________               Claim 16     Yes _______ No ________

 Claim 5         Yes _______ No ________               Claim 17     Yes _______ No ________

 Claim 9         Yes _______ No ________               Claim 19     Yes _______ No ________

 Claim 11        Yes _______ No ________


If you answered “NO” to the preceding Question, skip to Question No. 7.



Question No. 6:

Answer this question only if you answered “YES” to the preceding Question.

          If you answered “Yes” to Question No. 5, what is the date on which VMware first

induced third parties to literally infringe the ’367 patent?



          Answer: _____________________________




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INVALIDITY

Invalidity of U.S. Patent No. 8,209,687

Question No. 7:
      Has VMware proven by clear and convincing evidence that the following claims of the

’687 patent are invalid as anticipated by prior art?

        “Yes” is a finding for VMware. “No” is a finding for Plaintiffs.

      Claim 3       Yes _______       No ________

      Claim 7       Yes _______       No ________



Question No. 8:
      Has VMware proven by clear and convincing evidence that the following claims of the

’687 patent are invalid because the claimed subject matter would have been obvious to a person

of ordinary skill in the art at the time of the claimed invention?

       “Yes” is a finding for VMware. “No” is a finding for Plaintiffs.

      Claim 3       Yes _______       No ________

      Claim 7       Yes _______       No ________




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Question No. 9:
       Has VMware proven by clear and convincing evidence that the following claims of the

’687 patent do not contain specific improvements to computer technology and only involve

activities that were well-understood, routine, and conventional as of August 31, 2007?

       “Yes” is a finding for VMware. “No” is a finding for Plaintiffs.

      Claim 3       Yes _______       No ________

      Claim 7       Yes _______       No ________




Invalidity of U.S. Patent No. 9,654,367

Question No. 10:
      Has VMware proven by clear and convincing evidence that the following claims of the

’367 patent are invalid as anticipated by prior art?

        “Yes” is a finding for VMware. “No” is a finding for Plaintiffs.

 Claim 1        Yes _______ No ________                Claim 13   Yes _______ No ________

 Claim 2        Yes _______ No ________                Claim 15   Yes _______ No ________

 Claim 4        Yes _______ No ________                Claim 16   Yes _______ No ________

 Claim 5        Yes _______ No ________                Claim 17   Yes _______ No ________

 Claim 9        Yes _______ No ________                Claim 19   Yes _______ No ________

 Claim 11       Yes _______ No ________




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Question No. 11:
      Has VMware proven by clear and convincing evidence that the following claims of the

’367 patent are invalid because the claimed subject matter would have been obvious to a person

of ordinary skill in the art at the time of the claimed invention?

       “Yes” is a finding for VMware. “No” is a finding for Plaintiffs.

 Claim 1        Yes _______ No ________                Claim 13      Yes _______ No ________

 Claim 2        Yes _______ No ________                Claim 15      Yes _______ No ________

 Claim 4        Yes _______ No ________                Claim 16      Yes _______ No ________

 Claim 5        Yes _______ No ________                Claim 17      Yes _______ No ________

 Claim 9        Yes _______ No ________                Claim 19      Yes _______ No ________

 Claim 11       Yes _______ No ________




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Question No. 12:
      Has VMware proven by clear and convincing evidence that the following claims of the

’367 patent do not contain specific improvements to computer technology and only involve

activities that were well-understood, routine, and conventional as of August 16, 2011?

       “Yes” is a finding for VMware. “No” is a finding for Plaintiffs.

 Claim 1       Yes _______ No ________              Claim 13      Yes _______ No ________

 Claim 2       Yes _______ No ________              Claim 15      Yes _______ No ________

 Claim 4       Yes _______ No ________              Claim 16      Yes _______ No ________

 Claim 5       Yes _______ No ________              Claim 17      Yes _______ No ________

 Claim 9       Yes _______ No ________              Claim 19      Yes _______ No ________

 Claim 11      Yes _______ No ________




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Question No. 13:
      Has VMware proven by clear and convincing evidence that the following claims of the

’367 patent are invalid for failure to comply with the written description requirement?

       “Yes” is a finding for VMware. “No” is a finding for Plaintiffs.

 Claim 1       Yes _______ No ________               Claim 13      Yes _______ No ________

 Claim 2       Yes _______ No ________               Claim 15      Yes _______ No ________

 Claim 4       Yes _______ No ________               Claim 16      Yes _______ No ________

 Claim 5       Yes _______ No ________               Claim 17      Yes _______ No ________

 Claim 9       Yes _______ No ________               Claim 19      Yes _______ No ________

 Claim 11      Yes _______ No ________




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 PROTECTABILITY OF ASSERTED MARKS

 Question No. 14:
       Have Plaintiffs proven by a preponderance of the evidence that each of the following

 words is inherently distinctive?

        “Yes” is a finding for Plaintiffs. “No” is a finding for VMware.

  Densify         Yes _______

                  No ________

  Densifying      Yes _______

                  No ________

  Densification Yes _______

                  No ________



 If you answered “NO” to the Question above for any of the words, proceed to the next
 Question as it relates to that word(s) only. If you answered “YES” for all of the words, skip to
 Question No. 16.




 Proceed to the next page.



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 Question No. 15:
       Have Plaintiffs proven by a preponderance of the evidence that each of the following

 words is at least descriptive and achieved secondary meaning in the marketplace as an indication

 of source for Plaintiffs prior to the earliest date that VMware publicly used that word?

        “Yes” is a finding for Plaintiffs. “No” is a finding for VMware.

  Densify         Yes _______

                  No ________

  Densifying      Yes _______

                  No ________

  Densification Yes _______

                  No ________



 If you answered “YES” to the Question above for any of the words, proceed to the next
 Question as it relates to that word(s) only. If you answered “NO” for any of the words in
 response to Question No. 14 AND this Question, you need not address any more Questions
 pertaining to that word(s). If you answered “NO” for all of the words in response to Question
 No. 14 AND this Question, skip to Question No. 22.




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 Question No. 16:
       Have Plaintiffs proven by a preponderance of the evidence that Plaintiffs use each of the

 following words to indicate the source of their goods, placing the words on their products or on

 their labels or containers, or if that is not practical, on documents associated with the goods or

 their sale?

         “Yes” is a finding for Plaintiffs. “No” is a finding for VMware.

  Densify         Yes _______

                  No ________

  Densifying      Yes _______

                  No ________

  Densification Yes _______

                  No ________




 If you answered “YES” to the Question above for any of these word(s), proceed to the next
 Question as it relates to that word(s) only. If you answered “NO” for any of these word(s) ,
 you need not address any more Questions pertaining to that word(s). If you answered “NO”
 for all of the words in response to this Question, skip to Question No. 22.




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 TRADEMARK INFRINGEMENT (IF APPLICABLE)

          Answer these questions only for any claimed marks that you found are protectable (by a

          “YES” answer to Question No. 16 and either Question No. 14 OR 15). If you have not

          found that any asserted mark is protectable, skip to Question No. 22.

 False Designation of Origin (Infringement of Unregistered Trademark)

 Question No. 17:
       Have Plaintiffs proven by a preponderance of the evidence that VMware committed false

 designation of origin/infringement of an unregistered mark through its use of the following

 words?

   “Yes” is a finding for Plaintiffs. “No” is a finding for VMware.

  Densify          Yes _______

                   No ________

  Densifying       Yes _______

                   No ________

  Densification Yes _______

                   No ________




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 Delaware Deceptive Trade Practices Act

 Question No. 18:
       Have Plaintiffs proven by a preponderance of the evidence that VMware engaged in a

 deceptive trade practice through its use of the following words?

        “Yes” is a finding for Plaintiffs. “No” is a finding for VMware.

  Densify        Yes _______

                 No ________

  Densifying     Yes _______

                 No ________

  Densification Yes _______

                 No ________



 If you answered “YES” for any of the words in this Question, proceed to Question No. 19. If
 you answered “NO” for all of the words in response to Question No. 17 AND this Question,
 skip to Question No. 22.




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 Intentional Infringement

 Question No. 19:

        Answer this question only if you answered “YES” to Question No. 17.
        If you have found that VMware committed false designation of origin/trademark

 infringement, have Plaintiffs proven by a preponderance of the evidence that VMware acted

 intentionally, knowing it was an infringement or act of false designation of origin?

        Check one:


      ______       Yes

      ______       No


    “Yes” is a finding for Plaintiffs. “No” is a finding for VMware.

 Diversion of Sales

 Question No. 20

        Answer this question only if you answered “YES” to Question No. 17.
        If you have found that VMware committed false designation of origin/trademark

 infringement, have Plaintiffs proven by a preponderance of the evidence that VMware’s false

 designation of origin or trademark infringement caused a diversion of sales from Plaintiffs to

 VMware?

        Check one:


      ______       Yes

      ______       No


    “Yes” is a finding for Plaintiffs. “No” is a finding for VMware.


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 Fair Use of Trademarks
 Question No. 21:
        Answer this question only for any asserted mark for which you have answered “YES” to

        Question No. 17 OR 18.

        Has VMware proven by a preponderance of the evidence that its use of the following

 words is a fair use?

  Densify         Yes _______

                  No ________

  Densifying      Yes _______

                  No ________

  Densification Yes _______

                  No ________



        “Yes” is a finding for VMware. “No” is a finding for Plaintiffs.

 If you answered “YES” for all of the words in response to this Question, you need not address
 any more questions pertaining to Plaintiffs’ trademark claims.




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 DAMAGES (IF APPLICABLE)

 The ’687 Patent

        Answer these Questions only if you have found that at least one claim of the ’687 patent

        is infringed (by a “YES” answer to either Question Nos. 1 OR 2) and that the same claim

        is not invalid (that is, you gave a “NO” answer to all of Question Nos. 7, 8 AND 9). If

        you have not found that any ’687 patent claim is both infringed and not invalid, skip to

        Question No. 24.

 Question No. 22:
       If you have found that VMware infringed at least one valid claim of the ’687 patent, what

 is the dollar amount Plaintiffs have proven by a preponderance of evidence that they are entitled

 to as a reasonable royalty regarding Distributed Resource Scheduler (DRS) or products that

 interoperate with DRS?

        Answer in dollars and cents.

        Answer: _____________________________

 Question No. 23:
       If you have found that VMware infringed at least one valid claim of the ’687 patent, what

 is the dollar amount Plaintiffs have proven by a preponderance of evidence that they are entitled

 to as a reasonable royalty regarding vRealize Operations Manager (vROps), version 7.0 and

 greater or products that interoperate with vROps version 7.0 and greater?

        Answer in dollars and cents.

        Answer: _____________________________



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 The ’367 Patent

        Answer these Questions only if you have found that at least one claim of the ’367 patent

        is infringed (by a “YES” answer to either Question Nos. 4 OR 5) and that the same claim

        is not invalid (that is, you gave a “NO” answer to all of Question Nos. 10, 11, 12 AND

        13). If you have not found that any claim is both infringed and not invalid, skip to

        Question No. 25.

 Question No. 24:
       If you have found that VMware infringed at least one valid claim of the ’367 patent, what

 is the dollar amount Plaintiffs have proven by a preponderance of the evidence that they are

 entitled to as a reasonable royalty regarding vRealize Operations Manager (vROps), version 6.2

 and greater, or products that interoperate with vROps version 6.2 and greater?

        Answer in dollars and cents.

        Answer: _____________________________




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 Trademark Claims

        Answer these questions only for any asserted mark that you have found that is protectable

        (by a “YES” answer to Question No. 16 and either Question No. 14 OR 15), infringed (by

        a “YES” answer to either Question No. 17) and not a fair use (that is, you gave a “NO”

        answer to Question No. 21). If you have not found that any asserted marks is both

        protectable, infringed, and not a fair use, skip to Question No. 27.



 Question No. 25:
       If you have found that VMware committed false designation of origin/trademark

 infringement of an unregistered mark, what is the dollar amount of damages in the United States

 the Plaintiffs have proven by a preponderance of evidence?

        Answer in dollars and cents.

        Answer: _____________________________

 Question No. 26:
       If you have found that VMware committed false designation of origin/trademark

 infringement of an unregistered mark, what is the dollar amount of damages in the state of

 Delaware the Plaintiffs have proven by a preponderance of evidence?

        Answer in dollars and cents.

        Answer: _____________________________




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 WILLFULNESS (IF APPLICABLE)

 Question No. 27:
       Answer this question only if you have found that at least one claim of the ’687 patent is

        infringed (by a “YES” answer to either Question Nos. 1 OR 2) and that the same claim is

        not invalid (that is, you gave a “NO” answer to all of Question Nos. 7, 8 AND 9). If you

        have not found that any ’687 patent claim is both infringed and not invalid, skip to

        Question No. 28.

        If you have found that VMware infringed at least one claim of the ’687 patent, have

 Plaintiffs proven by a preponderance of the evidence that VMware’s infringement of the ’687

 patent was willful?

    “Yes” is a finding for Plaintiffs. “No” is a finding for VMware.

        Check one:


      ______      Yes (Willful)

      ______      No (Not Willful)




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 Proceed to the next page.
 Question No. 28:
       Answer this question only if you have found that at least one claim of the ’367 patent is

        infringed (by a “YES” answer to either Question Nos. 4 OR 5) and that the same claim is

        not invalid (that is, you gave a “NO” answer to all of Question Nos. 10, 11, 12 AND 13).

        If you have not found that any claim is both infringed and not invalid, skip this question.

        If you have found that VMware infringed at least one claim of the ’367 patent, have

 Plaintiffs proven by a preponderance of the evidence that VMware’s infringement of the ’367

 patent was willful?

    “Yes” is a finding for Plaintiffs. “No” is a finding for VMware.

        Check one:


      ______      Yes (Willful)

      ______      No (Not Willful)




 ANSWER NO FURTHER QUESTIONS.




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                                  CERTIFICATE OF SERVICE


          I, Robert M. Vrana, hereby certify that on December 30, 2019, I caused to be

 electronically filed a true and correct copy of the foregoing document with the Clerk of the Court

 using CM/ECF, which will send notification that such filing is available for viewing and

 downloading to the following counsel of record:

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                                Attorney for Plaintiffs/Counter-Defendants

          I further certify that on December 30, 2019, I caused the foregoing document to be served

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